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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

Dawn Angelique Richard,
                               Plaintiff,
         -against-                                            Case 1-24 -CV- 06848 - KPF
                                                             NOTICE OF VOLUNTARY
                                                             DISMISSAL PURSUANT TO
Sean Combs et al.,                                           F.R.C.P. 41(a)(1)(A)(i)


                              Defendants.


         Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), the Plaintiff and her counsel, hereby
give notice that all claims asserted in the Complaint against the Defendants REMOTE PRODUCTIONS
INC and NEW REMOTE PRODUCTIONS INC (hereafter referred to as “REMOTE Defendants”) are
hereby voluntarily dismissed without prejudice against REMOTE Defendants. REMOTE Defendants are
dismissed from this action, subject to REMOTE Defendants’ waiver of all attorney fees and costs incurred
by REMOTE Defendants in the above-captioned action up through and including the date of this dismissal.
Additionally, the caption in this action shall be amended to exclude and delete all reference to REMOTE
PRODUCTIONS INC and NEW REMOTE PRODUCTIONS INC as Defendant(s). See amended caption
below.
Dated: February 7, 2025                Respectfully Submitted,

                                        /Yasmine Meyer/
                                       ___________________________________________
                                       Signature of Plaintiff’s counsel Yasmine Meyer
                                       Firm Name: THE BLOOM FIRM PC
                                       Address: 85 Delancy Street, New York NY 10002
                                       Tel/Fax: 516-551-3006 Email: yasmine@thebloomfirm.com


                                       __________________________________________
                                       Signature of Plaintiff’s counsel Lisa A. Cervantes
                                       Firm Name: IP LEGAL STUDIO, LLC
                                       Address: 984 Surfbird Way, Oceanside CA 92057
                                       Tel: 323-333-2553, Email: iplegalstudio@gmail.com
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                            UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF NEW YORK


DAWN ANGELIQUE RICHARD,
                                                  CIVIL CASE NO. 1:24-cv-06848
              Plaintiff,

     v.

SEAN COMBS, HARVE PIERRE,
THE NORDLINGER GROUP LLC, NOVEMBER
15 LLC, DADDY’S HOUSE RECORDING STUDIO,
BAD BOY ENTERTAINMENT LLC, BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT
HOLDINGS INC, BAD BOY PRODUCTIONS
HOLDINGS INC, BAD BOY BOOKS HOLDINGS INC,
THE SEAN COMB MUSIC INC, SEAN COMBS
CAPITAL LLC, COMBS ENTERPRISES, LLC,
UNIVERSAL MUSIC GROUP NV, INTERSCOPE
GEFFEN A&M RECORDS, COMBS WINES AND
SPIRITS LLC, JANICE COMBS PUBLISHING INC,
JANICE COMBS PUBLISHING HOLDINGS INC,
DOE CORPORATIONS 1-10, AND DOE
DEFENDANTS 11-20,

              Defendants.




In accordance with the Notice of Voluntary Dismissal (Dkt. #126),
the Clerk of Court is directed to terminate defendants Remote
Productions Inc. and New Remote Productions Inc. from the docket.

Dated:        February 10, 2025            SO ORDERED.
              New York, New York




                                           HON. KATHERINE POLK FAILLA
                                           UNITED STATES DISTRICT JUDGE
